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                          IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    In re:                                              §
                                                        §
                                                                        Case No. 23-30960 (jpn)
    Sourcewater, Inc.,                                  §
    d/b/a Sourcenergy                                   §
                                                                               Chapter 11
                                                        §
                                                                              Subchapter V
               Debtor.                                  §


                             SUPPLEMENTAL UCC-1 CERTIFICATION


             In anticipation of the filing of a Petition under Chapter 11 of the Bankruptcy Code, the

undersigned counsel for Sourcewater, Inc., d/b/a Sourcenergy (“Debtor”) performed a search for UCC-1 filings

for the Debtor prior to filing to confirm the secured creditor pool and to determine whether a Motion to Utilize

Cash Collateral was necessary in this bankruptcy case. The undersigned hereby certifies that, as of the date

hereof, there is one UCC-1 in Texas, attached hereto as Exhibit A (“SBA UCC”). In addition, there

are two UCC-1 filings in Delaware, attached hereto as Exhibit B (“EDH UCC”) and Exhibit C (“Adler

UCC” and collectively with the SBA UCC and the EDH UCC, “UCCs”)). The Debtor filed an

Emergency Motion for Authority to Use Cash Collateral1 as a result of the UCCs on record.

                    Dated: March 18, 2023
                                                                    CHAMBERLAIN, HRDLICKA, WHITE,
                                                                         WILLIAMS & AUGHTRY, P.C.

                                                                    By: /s/ Jarrod B. Martin
                                                                    Jarrod B. Martin
                                                                    Texas Bar No. 24070221
                                                                    1200 Smith Street, Suite 1400
                                                                    Houston, Texas 77002
                                                                    D: 713.356.1280
                                                                    F: 713.658.2553
                                                                    E:
                                                                    jarrod.martin@chamberlainlaw.com

                                                                    Counsel for Debtor


1
    ECF No. 7.

UCC-1 CERTIFICATION                                                                                    PAGE | 1
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                                   CERTIFICATE OF SERVICE


         The undersigned certifies that on March 22, 2023, a true and correct copy of the foregoing
Certification was served electronically on all parties registered to receive electronic notice of filings
in this case via this Court’s ECF notification.


                                                 /s/ Jarrod B. Martin
                                                 Jarrod B. Martin




UCC-1 CERTIFICATION                                                                               PAGE | 2
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               Exhibit A
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               Exhibit B
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               Exhibit C
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